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VIA ECF

Hon. Frederick J . Scullin

United States District Judge

F ederal Building and U.S. Courthouse
100 South Clinton Street

P. O. Box 7255

Syracuse, NY 13261-7345

Re: Doe v. Syracuse Universi{y, et al: Local Rule 7.1(a)(1) Request
CivilAction No.: 5:18-CV-00496 [FJS-DEP]

Dear Judge Scullin:

I Write pursuant to Northern District of New York Local Rule 7.l(a)(l) to request permission to
file a memorandum of law in opposition to Defendants’ motion to dismiss Plaintiffs’ Second Amended
Complaint (Dkt. #44) that Will exceed twenty-five pages.

Defendants’ motion to dismiss raises five arguments regarding Plaintiffs’ contractual cause of
action and four arguments regarding Plaintiffs’ defamation cause of action. Additionally, Plaintiffs filed
a Third Amended Complaint, Which addresses some arguments made in Defendants’ motion, after
Defendants filed their motion pursuant to Fed. R. Civ. P. lS(a)(l)(B).

Given the number of issues presented and the complexity of the issues, Plaintiffs respectfully
request a reasonable extension of the page limit of a brief in opposition to Defendants’ motion to dismiss
not to exceed thirty-five (35) pages

Thank you for your consideration in this matter.

Respectfully,

W%MW“

Karen G. Felter

KGF/cmd

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